         Case 2:20-cv-03190-EEF Document 27 Filed 07/08/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 ALCUS SMITH                                                               CIVIL ACTION

 VERSUS                                                                          NO. 20-3190

 STATE OF LOUISIANA                                                      SECTION: “L”(1)



                                         ORDER

       The Court, having considered the record, the applicable law and the Report and

Recommendation of the United States Magistrate Judge, and the failure of any party to file any

objection to the Magistrate Judge’s Report and Recommendation, hereby approves the Report and

Recommendation of the United States Magistrate Judge and adopts it as its own opinion.

Accordingly,

       IT IS ORDERED that petitioner’s motion for leave to proceed as a pauper on appeal,

Rec. Doc. 23, is GRANTED; petitioner is entitled to proceed in forma pauperis.

       New Orleans, Louisiana, this _____
                                     8th day of _______________,
                                                      July       2022.




                                           __________________________________________
                                           UNITED STATES DISTRICT JUDGE
